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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                                   Colorado
 ____________________ District of _________________
                                        (State)
 Case number (If known): _________________________ Chapter _____
                                                            11
                                                                                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               ASI Capital Income Fund, LLC




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               _4_ _7_ – _2_ _9 _2_ _6_ _8_ _4_ _5_
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                                  9475 Briar Village Pt. Ste 220                          _______________________________________________
                                              ______________________________________________
                                              Number       Street                                         Number     Street

                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                                   Colorado Springs       CO         80920
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                                 El Paso
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




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Debtor           ASI Capital Income Fund LLC
              _______________________________________________________                         Case number (if known)_____________________________________
              Name



                                          x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          
 6.   Type of debtor
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          x None of the above
                                          

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          x Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                          
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             ___ ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          x Chapter 11. Check all that apply:
                                          
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor               ASI Capital Income Fund LLC
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases        x No
                                          
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
                                          x Yes.
                                                                ASI Capital LLC
                                                    Debtor _____________________________________________                  Parent
                                                                                                         Relationship _________________________
       business partner or an
       affiliate of the debtor?                     District _____________________________________________ When                 06   14    2020
                                                                                                                              __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?                          x Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.
                                          x A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                          

 12.   Does the debtor own or have        x No
                                          
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




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               ASI Capital Income Fund LLC
Debtor        _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                            /s/ John Cardinal Parks
                                            _____________________________________________            Date
                                                                                                                06/14/2020
                                                                                                                _________________
                                             Signature of attorney for debtor                                   MM    / DD / YYYY



                                            John Cardinal Parks
                                            _________________________________________________________________________________________________
                                            Printed name
                                            Lewis Brisbois Bisgaard & Smith LLP
                                            _________________________________________________________________________________________________
                                            Firm name
                                            1700 Lincoln Street, Suite 4000
                                            _________________________________________________________________________________________________
                                            Number        Street
                                            Denver                                                  CO         80203
                                            ____________________________________________________ ____________ ______________________________
                                            City                                                  State        ZIP Code

                                            720.292.2016                                                    John.Parks@lewisbrisbois.com
                                            ____________________________________                           __________________________________________
                                            Contact phone                                                  Email address


                                            18669                                                   Colorado
                                            ______________________________________________________ ____________
                                            Bar number                                             State




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